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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

SPECIFIX FASTENERS PTY LTD, et al.,    )   CASE NO.:    1:15-cv-01366-CAB
                                       )
            Plaintiffs,                )   Judge Christopher A. Boyko
                                       )
      v.                               )
                                       )
ALLFASTENERS USA LLC, et al.,          )
                                       )
            Defendants.                )
                                       )
                                       )




            REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’
                        MOTION TO DISMISS FOR
            LACK OF STANDING AND FAILURE TO STATE A CLAIM
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        Ajax’s lack of standing at the inception of this action cannot be cured by its repeated

attempts to amend the pleadings or the arguments in Plaintiffs’ Opposition. 1 Defendants have

raised substantial challenges to the justiciability of Plaintiffs’ claims, and Plaintiffs have failed to

rebut those attacks. Defendants’ Opening Brief (ECF # 38-1) carefully deconstructed the facts of

this case, and applied the relevant law to those facts. That analysis overwhelmingly supports

Defendants’ Motion to Dismiss (ECF # 38). In contrast (even though such attempts would have

been futile), Plaintiffs’ Opposition (ECF # 42) is completely devoid of any attempts to

distinguish the cases cited by Defendants. Thus, Defendants’ Motion To Dismiss For Lack Of

Standing And Failure To State A Claim under Fed. R. Civ. P. 12(b)(1) & 12(b)(6) should be

granted, and Ajax’s claims dismissed with prejudice. 2



        1
          Ajax’s reliance on Fed. R. Civ. P. 15(c)(1)’s ‘relation back’ exception is misplaced.
(ECF # 42 at p. 7 n.1). This exception is not a mechanism to end around Fed. R. Civ. P. 19
and/or 20. Yet, Ajax still attempts to support its improper amendment and addition of parties by
asserting that Specifix, Equipment, Holdings (collectively, the “Ajax Family Members”) and
Ajax “are, in essence, proceeding as one entity.” (Id. at p. 7 n.1). The single case Ajax cites in
support of this assertion, Am. Coe. Ass’n v. City of Louisa Water & Sewer Comm’n., 2009 U.S.
Dist. LEXIS 131652 at *28-30 (E.D. Ky. Feb. 27, 2009), is inapposite. That case deals with the
addition of parties in the context of relation back and the statute of limitations. Id. There, the
court permitted addition of a party where the two parties (a city and the city’s water commission)
were “in essence one entity.” Id. The same is not true for Ajax Family Members and Ajax.
(ECF # 42 at p. 7 n.1). Ajax blurs these distinctions in its Opposition Brief, identifying the Ajax
Family Members as both Ajax’s “business (trading) names,” as well as “its affiliated corporate
entities.” (Id. at p. 1). Ajax must do more than assert that this Court should disregard the
corporate separateness of these entities to maintain its claim.
        2
          Plaintiffs’ Opposition fails to fully address AllFasteners’ arguments, and only includes a
direct response to one of them. (ECF # 42 at p. 16). Thus, this Court should find each of Ajax’s
asserted claims abandoned, and dismiss them all with prejudice. In the Sixth Circuit, a plaintiff
abandons her claim when she fails to address it in response to a dispositive motion. Brown v.
VHS of Michigan, Inc., 545 F. App’x 368, 372 (6th Cir. 2013), McPherson v. Kelsey, 125 F.3d
989, 995-996 (6th Cir. 1997) (“Issues adverted to in a perfunctory manner, unaccompanied by
some effort at developed argumentation, are deemed waived. It is not sufficient for a party to
mention a possible argument in the most skeletal way, leaving the court to . . . put flesh on its
bones.”); Talley v. City of Cleveland, 2015 U.S. Dist. LEXIS 8730, at *5-6 (N.D. Ohio Jan. 26,
2015) (Polster, J.) (dismissing claims for lack of standing, finding that the plaintiff abandoned
those claims by failing to respond to arguments raised by the defendant’s motion to dismiss).
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  I.     LAW AND ANALYSIS

         A. Ajax’s Cause of Action for Infringement of the ‘709 Patent Must be Dismissed

              1. Ajax Incurably Lacks Standing to Maintain An Infringement Action

         Standing is measured at the inception of an action, and Ajax lacked standing at inception

of this action. Lujan v. Defenders of Wildlife, 504 U.S. 555, 570 n.5 (1992). Ajax’s lack of

standing cannot be cured by post-inception argument or amendment. Keene Corp. v. United

States, 508 U.S. 200, 207 (1993). Ajax fails to carry its burden in response to AllFasteners’

factual attack that Ajax lacks standing to assert infringement of the ‘709 Patent. 3 Ajax makes

two points in attempting to rebut AllFasteners’ factual attack: (1) pointing to an unexecuted

purchase agreement that only introduces more standing questions (the “2007 Unexecuted

Purchase Agreement”); and (2) introducing brand new claims of contributory infringement and

direct infringement by AllFasteners’ customers. Neither of these fix the standing issue.

                    a. There is No Article III Injury-in-Fact Because Ajax was Not an Owner Or
                       Exclusive Licensee of The ‘709 Patent at the Time of Filing this Action

         Ajax agrees with AllFasteners (see ECF # 38-1 at pp. 8-10, Section IV.A.1.a) that the

License Letter (ECF # 38-5), which Ajax asserts licensed rights in the ‘709 Patent from

Equipment to Ajax, was executed in January 2007, and the Deed of Assignment (ECF # 38-4),

allegedly assigning rights in the ‘709 Patent from GEF to Equipment, was executed November

2012. (ECF # 42 at pp. 11-12). It logically4 follows that from January 2007 through November

2012, GEF still held title to the ‘709 Patent and the application from which it issued, and no such

         3
          A factual attack challenges the factual existence of subject matter jurisdiction. RMI
Titanium Co. v. Westinghouse Elec. Corp., 78 F.3d 1125, 1135 (6th Cir. 1996). The Court’s
inquiry is limited to determining whether the challenged pleadings sufficiently demonstrate that
the Court has jurisdiction over the subject matter; “no presumptive truthfulness applies to the
factual allegations, and the court is free to weigh the evidence.” Id. In response, the plaintiff
“bears the burden of demonstrating standing and must plead its components with specificity.”
Coyne v. American Tobacco Company, 183 F. 3d 488, 494 (6th Cir. 1999)).
        4
          Plaintiffs arrive at a different conclusion based on those agreed facts. (Id. at p. 12).
                                                 2
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rights were or could have been licensed to Ajax from Equipment before 2012. The License

Letter did not provide a basis for Ajax to enforce the ‘709 Patent.5

       Ajax failed to carry its burden in response to AllFasteners’ factual attack that Ajax lacks

standing to assert infringement of the ‘709 Patent. Plaintiffs only point to an unexecuted

purchase agreement (the “2007 Unexecuted Purchase Agreement”) to rebut AllFasteners’ factual

attack. On its face, this document does not affect AllFasteners’ previous analysis and only

introduces more unanswered questions regarding Ajax’s standing.

       The 2007 Unexecuted Purchase Agreement contemplates the transfer of certain

intellectual property from GEF Holdings Pty Limited (“GEF”) to Equipment. (See, e.g.,

ACME_00183-ACME_00242, available at ECF # 43-2) (referring to GEF as “GEFH”). The

2007 Unexecuted Purchase Agreement defines GEF Intellectual Property as “the patents, patent

applications . . . in the name of GEF, as identified in Schedule 2 or other patents, patent

applications . . . solely used in the conduct of the Business.” (Id. at ACME_00194, clause 10)

(emphasis added). Notably, that definition does not describe all patent applications “in the name

of GEFH,” but limits its scope to two categories: (1) those identified in Schedule 2; and (2) those

solely used in the conduct of the Business. Id. There is no evidence that either Equipment or

GEF intended the ‘709 Application to fall into either of those categories. Neither the title of the

‘709 Application (IMPROVEMENTS IN RELATION TO BLIND BOLTING), nor its

application number (11/457,874) are identified in Schedule 2 to the 2007 Unexecuted Purchase

Agreement. (Id. at ACME_00238). Additionally, there is no indication that the parties intended6



       5
          Alps South, LLC v. Ohio Willow Wood Co., 787 F.3d 1379, 1382-86 (Fed. Cir. 2015)
(court erred in denying defendant’s motion to dismiss for lack of standing because plaintiff had
not established that patent owner retained no substantial rights in the asserted patent at the time
plaintiff filed suit and that lack of standing was not curable by a nunc pro tunc license).
        6
          Ajax misstates the holding of Vaupel Textilmashin Kg v. Meccanica Euro Italia SpA,
                                                  3
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the ‘709 Application be included in the second category, as solely used in the conduct of the

Business registered or licensed in the name of GEF.

       Assuming arguendo that the ‘709 Application was included in the GEF Intellectual

Property, which it was not, the 2007 Unexecuted Purchase Agreement presents more hurdles

Ajax has yet to clear before it can prove it has standing to assert infringement of the ‘709 Patent.

Clauses 1.7, 2.1, and 3.2(a)-(g) of the 2007 Unexecuted Purchase Agreement set forth conditions

precedent that must be completed prior to any transfer of the GEF Intellectual Property (see

clause 3.6). The only indication that each condition precedent might have been completed is the

handwritten acknowledgment adjusting the Completion Date from “22 January 2007” to

“9 February 2007.” (Id. at ACME_00193). Furthermore, the 2007 Unexecuted Purchase

Agreement was not executed by GEF. (Id. at ACME_00196).




944 F.2d 870, 875 (Fed. Cir. 1991) when it asserts that “it is well settled that successors in title to
a patentee have the right to enforce a patent, and such rights can be determined either by the
writing transferring the patent rights, and/or by the intent of the parties.” (ECF # 42 at p. 12)
(emphasis added). In Vaupel, the court stated that “[t]o determine whether a provision in an
agreement constitutes an assignment or a license, one must ascertain the intention of the parties
and examine the substance of what was granted.” 944 F.2d at 874 (emphasis added). Vaupel
does not provide an alternative between the writing or intent of the parties, but rather provides
that the writings must be construed in light of the intent of the parties. 944 F.2d at 874-75.
                                                  4
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       Even if the Court disregarded the absence of a signature by the purported assignor (GEF),

additional facts contradict Ajax’s claim of standing. Namely, the 2007 Unexecuted Purchase

Agreement was not even plausibly “complete” until February 9, 2007, such that at the time of the

purported license from Equipment to Ajax, January 31, 2007, Equipment held no right to license.

Thus, if Ajax is relying on the 2007 Unexecuted Purchase Agreement to demonstrate its right to

enforce the ‘709 Patent, Ajax’s claim fails. Because the 2007 Unexecuted Purchase Agreement

was not purportedly completed until February 2007, the January 2007 License Letter could not

convey any rights to the ‘709 Patent, and cannot show that Ajax ever received any rights, much

less ‘all substantial rights’ to the ‘709 Patent or the application that issued as the ‘709 Patent.

       If reality were stretched even further, and it is assumed that the License Letter effectively

transferred the rights originally held by GEF (which it did not), Ajax still lacks standing to assert

infringement of the ‘709 Patent. 7 The License Letter does not identify the ‘709 Patent or the

application that led to the ‘709 Patent, but purports to grant Ajax with “the authority to use,

market, enforce and act on behalf of [the purported patent owner, ACME Equipment Pty Ltd] in

relation to all patents held in the company’s name.” (ECF # 38-5) (emphasis added). The ‘709

Patent, however, did not issue until May 20, 2008. At the time the License Letter was executed,

January 31, 2007, only a pending patent application existed that was related to the ‘709 Patent,

not an actual patent. A ‘patent’ is distinct from a ‘patent application.’

       Thus, at the time of filing its Complaint, Ajax held no right to exclude others from

practicing the ‘709 Patent. And, despite Ajax’s repeated8 attempts to amend its Complaint (ECF



       7
         Paradise Creations, Inc. v. U V Sales, Inc., 315 F.3d 1304, 1309 (Fed. Cir. 2003).
       8
        Ajax’s counsel erroneously believed that Ajax was permitted unlimited amendments as a
matter of course. Although this Court’s October 20, 2015 Order did not explicitly limit the
number of re-filings permitted as a matter of course and without leave (see Baxter v Strickland,
381 F. Supp. 487 (N.D. Ga. 1974)), the Court gave no indication that it intended to abrogate Fed.
                                                   5
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# 35 and ECF # 37), this “jurisdictional defect cannot be cured by the addition of a party” that

might have standing. Schreiber Foods, Inc. v. Beatrice Cheese, Inc., 402 F.3d 1198, 1203 (Fed.

Cir. 2005). For at least these reasons, Ajax cannot establish that it suffered an injury-in-fact

prior to the onset of the suit, and thus, lacks standing to pursue infringement of the ‘709 Patent.

                   b. There is No Article III Causation Because, As A Matter Of Law, A Method
                      Claim Cannot Be Infringed By The Manufacture And Sale Of A Product

       The method claims of the ‘709 Patent are not infringed by the Accused Instrumentality

because a device cannot infringe a method claim. (See generally ECF # 38-1 at Section

IV.A.1.b). Ajax did not challenge the applicability of Mendenhall v. Cedarapids, Inc., 5 F.3d

1557, 1579 (Fed. Cir. 1993) and Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 774-75 (Fed. Cir.

1993) to the facts of this case. Instead, Ajax made two new, never before asserted, charges of

infringement in this action: (1) contributory infringement under 35 U.S.C. 271(c); and (2) direct

infringement by AllFasteners’ customers. (ECF # 42 at pp. 13-16). Ajax, however, failed to


R. Civ. P. 15(a) (“A party may amend its pleading once as a matter of course,” and thereafter
“only with the opposing party’s written consent or the court’s leave.”). Ajax also incorrectly
suggests that AllFasteners “agreed” to Ajax’s ability to unlimited amendments. (ECF # 42 at p.
1) (citing to the Report of the Parties Planning Meeting (ECF # 30)). But, Ajax’s Planning
Meeting proposal indicated only a single amendment to the pleadings (see ECF # 30 at pp. 2 and
5), and AllFasteners explicitly rebutted that single proposed amendment as futile (id. at p. 5).
         While it is correct that a dismissal under Rule 12(b)(1) allows for the possibility of re-
filing the dismissed party’s complaint, that proposition refers to re-filing in a new action and
only holds true for those claims for which each of the two conditions apply: (1) the claim was
dismissed without prejudice; and (2) the court has original or pendant jurisdiction over those
claims. (Compare ECF # 42 at p. 9 (characterizing this proposition as applying to “re-pleadings”
within the instant action), with Kobaivanova v. Hansen, 2011 U.S. Dist. LEXIS 105252, at *8
(N.D. Ohio Sept. 16, 2011)). Here, the proposition would only hold true for those claims for
which: (1) the claim was dismissed without prejudice; (2) the dismissed party has not repeatedly
failed to cure deficiencies by amendments previously allowed; (3) amendment would not cause
undue prejudice to the opposing party; (4) amendment would not be futile; and (5) the court has
original or pendant jurisdiction over those claims. U.S. ex rel. Bledsoe v. Cmty. Health Sys., Inc.,
342 F.3d 634, 644 (6th Cir. 2003). As demonstrated in Defendants’ Motion to Dismiss, Ajax
should not be permitted to amend because any amendments are futile and would be made in bad
faith (see GSS Props., Inc. v. Kendale Shopping Center, Inc., 119 F.R.D. 379, 381 (M.D.N.C.
Mar. 15, 1988) (citation omitted).
                                                  6
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plead even the barest of facts to support these claims.9 Prior to service of Plaintiffs’ Opposition,

the only type of indirect infringement Ajax asserted was induced infringement under 35 U.S.C.

271(b). (ECF # 1 at ¶¶ 75-78 (“. . . indirectly infringes . . .” and “. . . willful inducement of

infringement . . .”)). And, to support the originally asserted induced infringement claim, the

original Complaint, which made no reference to alleged infringement by AllFasteners’

customers, only identified AllFasteners’ sub-component manufacturers as direct infringers of the

method claims of the ‘709 Patent. (ECF # 1 at ¶ 76 (“Defendants, jointly and severally, have

induced the . . . manufacturers of the NexGen2 products to infringe . . . and such inducement of

infringement . . . is willful”)).

        Ajax’s attempted recasting of its original Complaint confirms that the original Complaint

is deficient, and that Ajax could not refute AllFasteners’ arguments. Ajax also found a case to

shoehorn its newly raised infringement theory into—Ricoh Co. Ltd v. Quanta Storage Inc., 550

F.3d 1325, 1337 (Fed. Cir. 2008) — and Ajax’s entire rebuttal in Section III.B.2 of its

Opposition Brief is devoted to doing so. However, the holding from Ricoh does not extend to

allegations of induced infringement. And, the Ricoh case does not mitigate Ajax’s failure to

properly allege a claim for contributory infringement or direct infringement by customers.

        Ajax also failed to defend its induced infringement theory in light of AllFasteners’

challenge. Ajax needed to point to plausible facts that enabled at least an inference that

AllFasteners knew that placing orders for sub-components of the Accused Instrumentality would



        9
         An allegation of contributory infringement requires pleading that a party sells a
component for use in practicing a patented process and that component is material to practicing
the invention, has no substantial non-infringing uses, and is known by the party “to be especially
made or especially adapted for use in an infringement of such patent.” 35 U.S.C. 271(c). At a
minimum, Ajax has never pled hat the NexGen2 bolt has no substantial non-infringing uses.
Furthermore, the NexGen2 bolt is not limited to use in blind bolt applications requiring
engagement with a tool.
                                                   7
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result in direct infringement of the ‘709 Patent, and that AllFasteners placed those orders with

the specific intent of encouraging direct infringement. But, Ajax could not, cannot, and has not

plausibly pled such facts because there can be no direct infringement of a method claim by the

Accused Instrumentality or a single sub-component. Mendenhall, 5 F.3d at 1579.

             2. Ajax Fails to State a Claim of Infringement of the ‘709 Patent under Any
                Reasonable Claim Construction of ‘Moveable Member’

                   a. As a Matter of Law, the Accused Instrumentality Cannot Literally Infringe
                      the ‘709 Patent Because it Practices the Prior Art

       Unbound by the canons of claim construction10 and logic, Ajax does not and cannot rebut

AllFasteners’ reasoning that the ‘709 Patent explicitly disavows11 from its permissible claim

scope the threaded-type engagement taught by the prior art PCT ‘113 Application. Indeed, Ajax

admits that the PCT ‘113 Application discloses the threaded-type engagement (referred to as

‘tedious’ in the ‘709 Patent), and Ajax fails to deny that—excepting the type of engagement

disclosed—the PCT ‘113 Application and the ‘709 Patent share an identical claim scope. (ECF

# 42 at p. 18). Ajax also admits that the “means to attach and detach the bolt and tool” used in

the Accused Instrumentality and the embodiments disclosed in the ‘709 Patent are not structural

equivalents to one another. (Id. at pp. 18-19) (“. . . excepting the means to attach and detach the

bolt and tool, every other feature and structure of the NexGen2 is identical to the OneSide.”)

(emphasis added). The threaded-type engagement practiced by the Accused Instrumentality—

and the prior art—cannot literally read on the ‘moveable member’ claimed in the ‘709 Patent.



       10
           Contrary to Ajax’s contention that construction of the claim term ‘moveable member’
is premature (ECF # 42 at p. 16), claim construction is a legal question and can be determined on
a motion to dismiss. See Wago Verwaltungsgesellschaft Mbh v. Rockwell Automation, 2012 U.S.
Dist. LEXIS 30703, *13 (N.D. Ohio Mar. 7, 2012) (Boyko, J.); Conoco, Inc. v. Energy & Envt’l
Int’l, LC, 460 F.3d 1349, 1359 (Fed. Cir. 2006) (“[A] district court may engage in claim
construction during various phases of litigation.”).
        11
           Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002).
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       Ajax refused to substantively address AllFasteners’ proposed claim construction of

‘moveable member’ and instead asks this Court to avoid making any construction at this time.

Nonetheless, Ajax effectively concedes that ‘moveable member’ should be construed as a

means-plus-function term under Section 112(f), referring to the ‘moveable member’ multiple

times as a “means.” Mas-Hamilton Group v. LaGard, Inc., 21 F. Supp. 2d 700 (E.D. Ky. 1997).

Ajax also implies that any means that performs the function of preventing separation between

bolt and tool will read on ‘moveable member,’ including those means in the prior art. (ECF # 42

at pp. 18-19). But, there can be no infringement under such a means-plus-function construction

because Ajax concedes that the threaded-type engagement practiced by the Accused

Instrumentalities is not a structural equivalent to the corresponding structure12 disclosed in the

‘709 Patent. The only alternative construction would render the term ‘moveable member’

indefinite. Noah Sys., Inc. v. Intuit Inc., 675 F.3d 1302, 1311-12 (Fed. Cir. 2012).

                   b. As a Matter of Law, the Accused Instrumentality Cannot Infringe Under
                      the Doctrine Of Equivalents Because Equivalents Cannot Encompass the
                      Prior Art

       Ajax also chose not to dispute AllFasteners’ application of Wilson Sporting Goods Co. v.

David Geoffrey & Associates, 904 F.2d 677, 683 (Fed. Cir. 1990) in this case. In response to

AllFasteners’ argument that the PCT ‘113 Application forecloses Ajax’s ability to recapture

threaded-type connections under the doctrine of equivalents, Ajax’s referred only to a single

block quote from a case discussing obviousness without further explanation or application. (ECF

# 42 at p. 19). Thus, judgment in AllFasteners’ favor is appropriate as to infringement under the

doctrine of equivalents because the written description criticizes the prior art13 feature for which


       12
            The corresponding structure identified in the specification is the socket-type ‘stud’ that
moves relative to the bolt and the tool. ‘709 Patent at 6:7-14, 7:37-39, 7:43-45, 8:29-33, 8:57-63.
         13
            It is well understood that there can be no infringement under the doctrine of equivalents
“if the asserted scope of equivalency of what is literally claimed would encompass the prior art.”
                                                  9
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equivalency is sought. Ajax failed to provide any alternative explanation for the specification’s

clear disavowel of threaded-type engagement. (See ECF # 38-1 at Section IV.A.2.b).

       B. Ajax Fails to Sufficiently Plead Violations of the Lanham Act14

       Defendants provided numerous grounds effectively challenging Ajax’s standing to assert

claims under the Lanham Act based on Ajax’s inability to sufficiently plead proximately caused

injuries. (See ECF # 38-1 at Section IV.B). In rebuttal, Ajax cites to a single (newly added)

paragraph from its Second Amended Complaint (ECF # 42 at p. 20), which reads:

       Through the marketing and sales of materially inferior and unsafe NexGen2
       products, which are visually indistinguishable from the genuine OneSide
       products, Defendants have engaged in dilution of Ajax’s business identity and the
       OneSide product identity and damaged Ajax’s reputation all of which constitute
       unfair trade practices in violation of the Act.

(ECF # 37 at ¶ 98). These bald conclusions cannot save Ajax’s Lanham Act claims. As set forth

in greater detail in Defendants’ Opening Brief, and highlighted again below, Ajax fails to

sufficiently plead violations of the Lanham Act.



Wald v. Mudhopper Oilfield Servs., 2006 U.S. Dist. LEXIS 51666, *18 (W.D. Okla. July 27,
2006) (quoting Wilson Sporting Goods Co. v. David Geoffrey & Assoc., 904 F.2d 677, 683 (Fed.
Cir. 1990) (also cited in ECF # 38-1 at pp. 15-16 ). While the statement in Wald that “[t]he mere
existence of an element in the prior art [does not] automatically preclude [Plaintiffs] from
asserting a scope of equivalency sufficient to encompass the corresponding element in the
accused device,” 2006 U.S. Dist. LEXIS 51666 at *20 (substitutions in original), is correct, the
statement in context contradicts Ajax’s position. Immediately prior to that carefully selected
statement, the Wald court stated that “[t]he purpose of the limitation that prior art restricts the
scope of equivalency is to prevent a party from obtaining coverage that could not lawfully have
been obtained by the literal claims.” Wald, 2006 U.S. Dist. LEXIS 51666 at *19-20 (quoting
Conroy v. Reebok Int’l, Ltd., 14 F.3d 1570, 1576-77 (Fed. Cir. 1994). A hypothetical, rewritten
version of claim 1 of the ‘709 Patent that would literally cover the Accused Instrumentality with
its threaded-type engagement would have been barred by law because of Ajax’s disavowal of
such an instrumentality as practicing the prior art, (ECF # 38-1 at pp. 13-14), and such coverage
is not properly recaptured by the doctrine of equivalents.
         14
            To the extent that Ajax now asserts that it has pled a claim of dilution under the
Lanham Act, any such claim also would require dismissal because of Ajax’s inability to
sufficiently plead proximately caused injuries of the type protected or any “distinctive quality” of
a “famous mark.” Moseley v. V Secret Catalogue, Inc., 537 U.S. 418, 432 (2003).
                                                10
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             1. Dismissal of Ajax’s Trade Dress Infringement Claim is Proper

       Rather than directly responding to Defendants’ arguments regarding the insufficiency of

Ajax’s trade dress infringement claim in terms of functionality and consumer confusion, Ajax

offered conclusory statements and unguided citations to fifteen paragraphs of the Complaint

(ECF # 42 at pp. 22-23). This cannot save Ajax’s failure to address all of the arguments

advanced by Defendants.

       Ajax cites Dayco Prods., LLC v. Dorman Prods., 2010 U.S. Dist. LEXIS 102785 (E.D.

Mich. Sept. 28, 2010) to support the proposition that attaching a photograph to a complaint will

automatically save a trade dress claim from dismissal. (ECF # 42 at pp. 21-22). The holding in

Dayco, however, does not stretch as far as Ajax would like.15 A trade dress claim must include a

specific identification of the protectable features of the asserted trade dress, whether that

identification comes from a purely textual narrative, a purely pictorial representation, or some

combination of the two. General Motors Corp. v. Lanard Toys, Inc., 468 F.3d 405, 416 (6th Cir.

2006) (holding that plaintiffs must detail “exactly what the[ir] trade dress consists of”); Fair

Wind Sailing, Inc. v. Dempster, 764 F.3d 303, 310 (3rd Cir. 2014) (holding that trade dress

infringement claims that merely plead generic elements of a website design will not survive a

motion to dismiss, rather such claims must specifically allege a composite look that might

constitute a protectable trade dress).

       Although cited to support Ajax’s argument, the holding in Mike Vaughn Custom Sports,

Inc. v. Piku, 15 F. Supp. 3d 735 (E.D. Mich 2014) only serves to hinder Ajax’s reliance on


       15
          In Dayco, specific identification of the protectable features of the asserted trade dress
was accomplished by attaching three types of images to the complaint: (1) plaintiff’s images
containing the asserted trade dress features; (2) defendant’s images containing the asserted trade
dress features; and (3) images of a third party that did not contain any of the asserted trade dress
features. 2010 U.S. Dist. LEXIS 102785, at *17-18. The third party ‘control’ images permitted
specific identification of the asserted trade dress features by comparison with the other images.
                                                 11
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Dayco. In Mike Vaughn, the District Court for the Eastern District of Michigan dismissed the

plaintiff’s Lanham Act trade dress claims for failing to specifically allege features composing the

trade dress in light of the pleading standard set forth in Ashcroft v. Iqbal, 556 U.S. 662, 677

(2009). 15 F. Supp. 3d at 745. Similar to the plaintiff in Dayco, the plaintiff in Mike Vaughn

had attached pictures of the website to the complaint, but the court could not “distill from the

images what the plaintiff claims as protected trade dress or identify what is non-functional about

its product design.” Id. at 747. The same is true here.

       Accordingly, this Court does not have jurisdiction over Ajax’s barebones allegation of

trade dress infringement (ECF # 1 at ¶ 81-83; ECF # 35 at ¶ 98) at least because, as a matter of

law, no cognizable right exists in protecting functional features, and because Ajax failed to plead

any facts to evidence consumer confusion that proximately caused an injury to Ajax. (See ECF #

38-1 at Section IV.B.1). Ajax also cannot remedy its failure to identify what specific elements of

its purported trade dress are protectable, or that the purported trade dress is inherently distinctive.

             2. Dismissal of Ajax’s False Advertising Claims is Proper

       Instead of choosing to voluntarily dismiss its claims of false advertising, Ajax chose to

respond to Defendants’ detailed challenges with only two substantive sentences:

    Indeed, Ajax alleged that AllFasteners’ misrepresents its NexGen2 as “a grad[e] A-490”
    fastener that is manufactured in the USA, that AllFasteners provided improper product
    certifications, and that AllFasteners misrepresents its product as conforming to legal and
    industry standards. (Doc.1, Complaint at ¶¶51,56,58-61,63,81; Doc. 37, Second
    Amended Complaint, ¶¶59,66,68-71,74,85,95.) Ajax also alleged that AllFasteners
    misrepresentations are made on its website and on YouTube videos and are designed to
    gain an improper and prohibited advantage in the U.S. market and that, as a result,
    AllFasteners has diluted Ajax’s business identity, the OneSide product identity and
    damaged Ajax’s business reputation. (Id. at ¶85.)

(ECF # 42 at p. 23-24). Yet, neither of these two sentences, nor Ajax’s statement of the law or

the conclusions that couch them, can save Ajax’s false advertising claims. Ajax failure to

respond to the arguments raised by Defendants amounts to an abandonment of those claims.

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       Ajax lacks standing to assert its false advertising claims because it has not, and cannot as

a matter of law, plausibly allege that AllFasteners’ statements are ‘provably false’ or that any

consumer deception occurred. (See ECF # 38-1 at Section IV.B.2). Nor, has Ajax alleged any

proximately caused injury. Defendants analyzed the sufficiency of Ajax’s false advertising

claims as to each purportedly false statement. But because neither of the statements challenged

by Ajax are unambiguously false in light of the FTC and FQA guidelines, and the Complaint is

devoid of allegations of consumer deception resulting from the challenged statements, no

standing exists. Ajax did not even address these arguments.16

       C. Ajax Fails to Sufficiently Plead Misappropriation of Any Trade Secrets

       Ajax fails to state a claim of trade secret misappropriation because it has not identified

with specificity the information that it alleges is confidential and that was misappropriated.

Rainworks Ltd. v. Mill-Rose Co., 622 F. Supp. 2d 650, 657-58 (N.D. Ohio 2009). Additionally,

Ajax cannot proceed because it did not allege that it took reasonable efforts to maintain the

secrecy of any of its purportedly confidential information. Mar Oil Co. v. Korpan, 2011 U.S.

Dist. LEXIS 121706, *12 (N.D. Ohio Oct. 20, 2011). Accordingly, this cause of action also

should be dismissed with prejudice. Plaintiff’s conclusory allegation that AllFasteners

misappropriated its trade secrets does not suffice. See, e.g., Jaro Transp. Servs. v. Grandy, 2006

U.S. Dist. LEXIS 62932, at *34-42 (N.D. Ohio Sept. 5, 2006).17



       16
           Ajax completely refused to respond to Defendants’ analysis of each of the following
cases that show Ajax has no standing to assert its claims of false advertising: New Colt Holding
Corp. v. RJG Holdings of Fla., Inc., 312 F. Supp. 2d 195, 234-35 (D. Conn. 2004); Prakash v.
Altadis U.S.A., Inc., 2012 U.S. Dist. LEXIS 46337, *27-29 (N.D. Ohio Mar. 30, 2012); A.P.
Deauville, LLC v. Arion Perfume & Beauty, Inc., 2014 U.S. Dist. LEXIS 173073, at *10-14
(N.D. Cal. Dec. 12, 2014); Honeywell Int’l Inc. v. ICM Controls Corp., 45 F. Supp. 3d 969, 988
(D. Minn. 2014).
        17
           Again, Ajax chose not to respond to any of the precedential case law AllFasteners’
cited and relied on in relation to the charge of trade secret misappropriation.
                                                 13
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       Even if Ajax did properly identify18 its purported trade secrets, which it did not, its

allegation of misappropriation is trumped by Ajax’s admission that it expressly authorized

AllFasteners to disclose “material specifications, manufacturing technology and know-how” to

the public for the purpose of “effectively market[ing] the ONESIDE.” (ECF # 1 at ¶ 64; ECF

#42 at p. 25). Thus, this Court does not have jurisdiction over Count III because, as a matter of

law, there can be no cognizable right of trade secret in information that is not kept secret.

       D. Ajax Fails to Sufficiently Plead that Defendants Breached the Agreement

       Ajax concedes that its breach of contract claim rises and falls with its trade secret

misappropriation claim. Subsequently, both claims fail because Ajax admits that it has given

AllFasteners permission to disclose purported trade secret information to third parties without

any restriction on its further dissemination. (ECF # 1 at ¶ 64). Furthermore, Ajax’s lone defense

of its implausible and untimely agency theory is to ask this Court to disregard the corporate

separateness between AllFasteners and the actual party to the Confidentiality Agreement without

reference to any facts to support this newly concocted theory. Cleveland Thermal Steam

Distrib., LLC v. Carlyle Leader, LLC, 2015 U.S. Dist. LEXIS 58265 (N.D. Ohio May 4, 2015).

       AllFasteners challenged Ajax’s standing to assert Count IV at inception of this lawsuit

because neither party to the Confidentiality Agreement was a party to this suit. (See ECF # 38-1

at Section IV.D). In response Ajax shifted strategies and improperly added one of the parties to

the Confidentiality Agreement as a new plaintiff (Specifix) while blindly arguing its incomplete

and new agency theory. Failing to contest AllFasteners attack, Ajax concludes (ECF # 42 at p.


       18
          Ajax further fails to rebut the insufficiency of its trade secret misappropriation claim
when it attempts to distinguish the “purpose” of Ajax permitting third party disclosure of the
only Ajax documents specifically identified as including any confidential information. (ECF #
21 at pp. 4-5 and 17) (discussing that the only Ajax documents AllFasteners received that were
designated “COMMERCIAL IN CONFIDENCE,” Ajax specifically instructed AllFasteners to
publicly share those documents).
                                                 14
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26)—without citation to any factual support—that: (1) the Confidentiality Agreement was

executed on behalf of AllFasteners (compare FAC at ¶¶ 44-45, with ECF # 1 at ¶ 38)—it was

not; and (2) that the party to the Confidentiality Agreement “does business in the United States

exclusively through Defendants” (see also FAC at ¶ 10). This cause of action should be

dismissed because the Confidentiality Agreement attached to the Complaint plainly and

materially contradicts Ajax’s pleadings regarding the parties to the contract and Ajax fails to

allege a power to bind between the purported agent and principal. Midkiff v. Adams Reg’l Water

Dist., 409 F.3d 758, 767 (6th Cir. 2005) (finding amendment of the pleadings to add an agency

theory futile because as amended the pleading could not withstand a motion to dismiss, and

because the plaintiff had not even alleged that the principal had the right to control the agent).

 II.     CONCLUSION

         For at least the foregoing reasons, AllFasteners respectfully request that this Court grant

Defendants’ Motion to Dismiss, and dismiss all of Ajax’s causes of action with prejudice.


Dated: December 7, 2015                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of December 2015 the foregoing Reply Memorandum

in Support of Defendants’ Motion To Dismiss For Lack Of Standing And Failure To State A

Claim was filed electronically with the Clerk of the Court using CM/ECF and that the foregoing

was served upon the following via electronic mail:

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